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                EXHIBIT H
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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                                     MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION

                                                                                                SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                               FIFTH AMENDED PLAINTIFF FACT SHEET


      This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the use of
Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best of your
knowledge. In completing this Fact Sheet, you are under oath and must provide information that is true and
correct to the best of your knowledge. If you cannot recall all of the details requested, please provide as much
information as you can. You must supplement your responses if you learn that they are incomplete or incorrect
in any material respect.

       In filling out this form, please use the following definitions: (1) “healthcare provider” means any
hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic laboratory, or other facility
that provides medical, dietary, psychiatric, or psychological care or advice, and any pharmacy, weight loss
center, x-ray department, laboratory, physical therapist or physical therapy department, rehabilitation
specialist, physician, psychiatrist, osteopath, homeopath, chiropractor, psychologist, nutritionist, dietician, or
other persons or entities involved in the evaluation, diagnosis, care, and/or treatment of the plaintiff or
plaintiff’s decedent; (2) “document” means any writing or record of every type that is in your possession,
including but not limited to written documents, documents in electronic format, cassettes, videotapes,
photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-records, non-identical
copies, and other data compilations from which information can be obtained and translated, if necessary, by the
respondent through electronic devices into reasonably usable form.

      Information provided by plaintiff will only be used for purposes related to this litigation and may
be disclosed only as permitted by the protective order in this litigation. This Fact Sheet is completed
pursuant to the Federal Rules of Civil Procedure governing discovery (or, for state court case, the
governing rules of civil of the state in which the case is pending).

I.    CORE CASE INFORMATION

Attorney Information

      Please provide the following information for the civil action that you filed:
               1. Caption: Sheila Crayton v. Sanofi, S.A., et. al.
               2. Court and Docket No.: USDC EDLA 2:17-cv-05923
               3. MDL Docket No. (if different): 2740

CRAYTON, SHEILA                                             1                                  Plaintiff ID 1960
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              4.   Date Lawsuit Filed: 06/19/17
              5.   Plaintiff’s Attorney: Betsy Barnes
              6.   Plaintiff’s Law Firm: Morris Bart, LLC
              7.   Attorney’s Address: 601 Poydras St., 24th Fl.
                                        New Orleans, LA 70130
              8.   Attorney’s Phone Number: (504) 599-3234
              9.   Attorney’s Email Address: bbarnes@morrisbart.com

Plaintiff Information

      Please provide the following information for the individual on whose behalf this action was filed:
              10. Name: CRAYTON, SHEILA
              11. Street Address:
              12. City:
              13. State:
              14. Zip code:
              15. Date of Birth:
              16. Place of Birth:
              17. Social Security Number:
              18. Maiden or other names you have used or by which you have been known:
                   Gilmore
              19. Sex: Male: o Female: x
              20. Race:

                                          Race                          Yes
                   American Indian or Alaska Native                      o
                   Asian                                                 o
                   Black or African American                             x
                   Native Hawaiian or Other Pacific Islander             o
                   White                                                 o

              21. Ethnicity:

                                        Ethnicity                       Yes
                   Hispanic or Latino                                    o
                   Not Hispanic or Latino                                x

              22. Primary Language: English


Representative Information



CRAYTON, SHEILA                                           2                                 Plaintiff ID 1960
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      If you are completing this questionnaire in a representative capacity (e.g., on behalf of the estate of a
      deceased person), please state the following:
                23. Name:
                24. Address:

                25. Capacity in which you are representing the individual:
                26. If you were appointed as a representative by a court, identify the State, Court and Case Number:

                               a) State:
                               b) Court:
                               c) Case Number:
                27. Relationship to the Represented Person:
                28. State the date of death of the decedent: --/--/----
                29. State the place of death of the decedent:
                30. Are you filling this questionnaire out on behalf of an individual who is deceased and on whom
                    an autopsy was performed? Yes o No o
If you are completing this questionnaire in a representative capacity, please respond to these questions with
respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II.    PERSONAL INFORMATION

Relationship Information

      Please provide the following information for the civil action that you filed:
               1. Are you currently: Married: o Single: x Engaged: o
                      Significant other: o Divorced: o Widowed: x Same sex partner: o
                 2.   Have you ever been married? Yes x No o
                 3.   If yes, for EACH marriage, state the following:


                                                 Dates of           Date Marriage
             Spouse’s Name                                                              Nature of Termination
                                                 Marriage               Ended
Crayton, Sr., Johnson L                     05/??/1971              12/25/2015      Legally Separated/Husband Deceased


Education

                 4.   For each level of education you completed, please check below:
                      High School: x Vocational School: o
                      College: AA: x BA/BS: o Masters: o PhD: o M.D.: o
                      Other:


Employment

CRAYTON, SHEILA                                                 3                                 Plaintiff ID 1960
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              5.   Are you currently employed? Yes o No x
              6.   If yes, state the following:
                         a) Current employer name:
                         b) Address:

                         c) Telephone number:
                         d) Your position there:
              7.   Are you making a claim for lost wages or lost earning capacity?
                   Yes o No x
              8.   Only if you are asserting a wage loss claim, please state the following for EACH employer for
                   the last seven (7) years:


                                                                                               Annual
                                                                         Dates of
 Name of Employer                Address of Employer                                            Gross         Your Position
                                                                        Employment
                                                                                               Income
                                                                       --/--/---- to
                                                                       --/--/----
                                                                       o Present


              9.   Have you ever been out of work for more than thirty (30) days for reasons related to your health
                   in the last seven (7) years? Yes o No x
              10. If yes, please state the following:


              Name of Employer                                     Dates                             Health Reason
                                                    --/--/---- to --/--/----
                                                    o Present


     YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND IDENTIFY THE LOSS OF
     CONSORTIUM PLAINTIFF’S EMPLOYERS IF CLAIMING LOST WAGES OR LOST EARNING CAPACITY
     DAMAGES.


Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation, social
                  security, and/or state or federal disability benefits?

                   Yes o No x
              12. If yes, then as to EACH application, please state the following:


 Year Claim                                        Nature of Claimed                                             Award
                             Court                                                     Period of Disability
    Filed                                               Injury                                                   Amount



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Military Service

               13. Have you ever served in any branch of the military? Yes o No x
               14. If yes, state the branch and dates of service:


                                           Branch Name                Dates of Service
                                                                    --/--/---- to --/--/----
                                                                    o Present


               15. If yes, were you discharged for any reason relating to your health (whether physical, psychiatric,
                   or other health condition)? Yes o No o
               16. If yes, state the condition:


Other Lawsuits

               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily injury, or made a
                   claim, OTHER THAN the present suit? Yes o No x


Computer Use

               18. Apart from communications to or from your attorney, have you communicated via email, visited
                   any chat rooms, or publicly posted a comment, message or blog entry on a public internet site
                   regarding your experience with or injuries you attribute to Taxotere®, other chemotherapies,or
                   alopecia/hair loss during the past ten (10) years? You should include all postings on public
                   social network sites including Twitter, Facebook, MySpace, LinkedIn, or “blogs” that address
                   the topics above.
                   Yes o No x
               19. If yes, please state the following:


                                         Screen Name or
           Forum Name                                         Date of Post                     Substance of Post
                                           User Handle
                                                             --/--/----


               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes o No x

                          a) If yes, identify the group by name:
                          b) When did you join the group?


III.   PRODUCT IDENTIFICATION

               I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE ® OR OTHER
                                    DOCETAXEL: Yes x No o

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               YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET


Taxotere®

               1.   Were you treated with brand name Taxotere ®? Yes x No o Unknown o


Other Docetaxel
               2. Were you treated with another Docetaxel or generic Taxotere®? Yes o No x
               3. If yes, select all that apply:
                                              Name of Drug                               Yes
                    Docetaxel – Sanofi-Aventis U.S. LLC d/b/a Winthrop US                o
                    Docetaxel – McKesson Corporation d/b/a McKesson Packaging            o
                    Docetaxel – Actavis LLC f/k/a Actavis Inc. / Actavis Pharma, Inc.    o
                    Docetaxel – Pfizer Inc.                                              o
                    Docetaxel – Sandoz Inc.                                              o
                    Docetaxel – Accord Healthcare, Inc.                                  o
                    Docetaxel – Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc. /
                                                                                         o
                    Hospira, Inc.
                    Docefrez – Sun Pharma Global FZE                                     o
                    Docefrez – Sun Pharmaceutical Industries, Inc. f/k/a Caraco
                                                                                         o
                    Pharmaceutical Laboratories, Ltd.
                    Docetaxel – Teva Parenteral Medicines, Inc.                          o
                    Docetaxel – Dr. Reddy’s Laboratories Limited                         o
                    Docetaxel – Eagle Pharmaceuticals, Inc.                              o
                    Docetaxel – Northstar Rx LLC                                         o
                    Docetaxel – Sagent Pharmaceuticals, Inc.                             o
                    Unknown                                                              o


               4.   IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS FOLLOWS:

                    I certify that I have made reasonable, good faith efforts to identify the manufacturer of the
                    Docetaxel used in my treatment, including requesting records from my infusion
                    pharmacy, and the manufacturer either remains unknown at this time or I am awaiting
                    the records: x

IV.    MEDICAL INFORMATION



Vital Statistics

               1.   How old are you: 64

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                  2. Age at the time of your alleged injury: 54
                  3. Current weight: 165
                  4. Current height:
                        Feet: 5 Inches: 2
                  5. Weight at time of alleged injury: 166.3 lbs


Gynecologic and Obstetric History

                  6. Have you ever been pregnant? Yes x No o
                             a) Number of pregnancies: 03
                             b) Number of live births: 03
                  7. If you have children, please state the following for EACH child:


          Child’s Name                                             Address                        Date of Birth
Crayton, Jr., Johnson

Crayton, Jyan L

Fontenette, Tamela


                  8. Date of first period (menses): ??/??/?? Age: 16
                  9. Date of last period (menses):     ??/??/?? Age: 41
                  10. Are you menopausal, perimenopausal or postmenopausal? Yes x No o
                  11. For EACH year for the last seven (7) years before your first treatment with Taxotere® or
                      Docetaxel and since then, who did you see for your annual gynecological exam? Also
                      indicate whether an annual exam was skipped ormissed.


              Doctor                                  Office                          Year   Skipped or Missed
                                    2000-present
Blanton, Elizabeth N                The Women's Medical Center, 515 Westbank   2000                    o
                                    Expressway, Gretna, LA 70053
                                    2000-present
Blanton, Elizabeth N                The Women's Medical Center, 515 Westbank   2018                    o
                                    Expressway, Gretna, LA 70053


                  12. For EACH year after age 40, or before then if applicable, who did you see for your annual
                      mammogram? Also indicate whether an annual mammogram was skipped or missed.


              Doctor                                  Office                          Year   Skipped or Missed
                                    1992-2007
Blanton, Elizabeth N                The Women's Medical Center, 515 Westbank   1992                    o
                                    Expressway, Gretna, LA 70053



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              Doctor                                   Office                          Year      Skipped or Missed
                                   1992-2007
Blanton, Elizabeth N               The Women's Medical Center, 515 Westbank     2007                      o
                                   Expressway, Gretna, LA 70053
                                   2008-2018
                                   Diagnostic Imaging Services
Blanton, Elizabeth N                                                            2008                      o
                                   925 Avenue C.
                                   Marrero, LA 70072
                                   2008-2018
                                   Diagnostic Imaging Services
Blanton, Elizabeth N                                                            2018                      o
                                   925 Avenue C.
                                   Marrero, LA 70072
N                                                                                                         o
N                                                                                                         o
N                                                                                                         o



Other Risk Factors

                13. Have any family members been diagnosed with breast cancer?


                                                                       Age at
                       Family Member                  Diagnosed
                                                                      Diagnosis
                                                           o


                14. Have you ever been diagnosed as having genes or gene mutations that carry an increased
                    cancer risk (e.g., BRCA1, BRCA2)? Yes o No x
                          a) If yes, which?
                    Did you receive radiation treatments or exposure to radiation before the age of 30?
                15.
                    Yes o No x
                            a) If yes, describe the particulars of your treatment or exposure:



Tobacco Use History


For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check the answer and
fill in the blanks applicable to your history of tobacco use, including cigarettes, cigars, pipes, and/or chewing
tobacco/snuff.
                16. I currently use tobacco: Yes o No x
                17. I have never used tobacco: Yes x No o
                18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                    Yes o No x
                19. Identify types of tobacco use:


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                                                                                       Duration of Use
                     Type                   Used          Average Per Day
                                                                                          (Years)
        Cigarettes                           o
        Cigars                               o
        Pipes                                o
        Chewing tobacco/snuff                o



Prescription Medications

                     20. Apart from chemotherapy, are there prescription or over-the-counter medications that you
                         took on a regular basis or more than three (3) times inthe seven (7) year period before you
                         first took Taxotere®? Yes x No o
                         For purposes of this question, “regular basis” means that you were directed by a
                         healthcare provider to take a medication for at least forty-five (45) consecutive days.
                     21. If yes, please provide the following for EACH prescription medication:


                     Medication                                        Prescriber                          Dates Taken
                                                   Rodriguez-Fierro, Carlos
                                                                                                     ??/??/2005 to --/--/----
Verapamil                                          1111 Medical Center Boulevard, Suite S350
                                                                                                     R Present
                                                   Marrero, LA 70072
                                                   Long, William
                                                                                                     ??/??/2005 to --/--/----
Nexium                                             3909 Lapalco Boulevard, Suite 100
                                                                                                     R Present
                                                   Harvey, LA 70058
                                                   Long, William
                                                                                                     01/1/2005 to --/--/----
Furosemide                                         3909 Lapalco Boulevard, Suite 100
                                                                                                     R Present
                                                   Harvey, LA 70058
                                                   Blanton, Elizabeth
                                                                                                     ??/??/2004 to --/--/----
Paxil                                              515 Westbank Expressway
                                                                                                     R Present
                                                   Gretna, LA 70053
                                                   Long, William
                                                                                                     ??/??/2004 to --/--/----
Amitriptyline                                      3909 Lapalco Boulevard, Suite 100
                                                                                                     R Present
                                                   Harvey, LA 70058
                                                   Long, William
                                                                                                     ??/??/2005 to --/--/----
Potassium                                          3909 Lapalco Boulevard, Suite 100
                                                                                                     R Present
                                                   Harvey, LA 70058


V.       CANCER DIAGNOSIS AND TREATMENT



Cancer Diagnosis & Treatment Generally

                     1. Have you ever been diagnosed with cancer? Yes x No o
                     2. Were you diagnosed with cancer more than once? Yes o No x
                     3. Did you undergo any of the following for cancer?


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                                        Treatment              Treated
                                   Surgery                           x
                                   Radiation                         x
                                   Chemotherapy                      x


             4. For surgery, specify:


                                          Type of Surgery                      Treated
                              Double mastectomy                                    o
                              Left-side mastectomy                               x
                              Right-side mastectomy                                o
                              Lumpectomy                                           o
                              Other:                                               o


             5. Please state the following for EACH cancer diagnosis:


Type of Cancer                          Breast Cancer

Date of Diagnosis                       10/17/2007
                                        10/17/2007 to --/--/---- R Present
                                        Oncology/Chemotherapy
Primary Oncologist                      Chandrasekaran, Nagarajan
                                        120 Ochsner Blvd, Ste 380
                                        Gretna, LA 70056
                                        10/17/2007 to --/--/---- R Present
                                        Oncology/Radiation
Primary Oncologist                      Swanton, Robert
                                        1120 Robert Boulevard, Suite 100
                                        Slidell, LA 70458
                                        10/17/2007 to --/--/---- R Present
                                        Oncology/Surgery
Primary Oncologist                      Kitahama, Akio
                                        1111 Medical Center Boulevard, Suite 630
                                        Marrero, LA 70072
                                        10/17/2007 to --/--/---- R Present
                                        Oncology Treatment
Treatment Facility                      West Jefferson Medical Center
                                        1101 Medical Center Boulevard
                                        Marrero, LA 70072
Treatment Facility                      --/--/---- to --/--/---- o   Present
Treatment Facility                      --/--/---- to --/--/---- o   Present
Treatment Facility                      --/--/---- to --/--/---- o   Present


Particulars of Chemotherapy


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           6. When were you first diagnosed with the condition for which you were prescribed Taxotere® or
              Docetaxel? 10/17/2007
           7. What was the diagnosis for which you were prescribed Taxotere® or Docetaxel?


                                       Diagnosis                Diagnosed
                  Breast cancer                                     x
                  Non-small cell lung cancer                        o
                  Prostate cancer                                   o
                  Gastric adenocarcinoma                            o
                  Head and neck cancer                              o
                  Other:                                            o


           8.     For breast cancer, specify:
                        a) Tumor size:


                                  Tumor Size         Yes
                           TX                         o
                           T0                         o
                           Tis                        o
                           T1                         o
                           T2                        x
                           T3                         o
                           T4 (T4a, T4b, T4c, T4d)    o
                           Unknown                    o


                        b) Metastasis: M0 (No Distant Metastasis)
                        c) Node involvement:


                                       Node          Yes
                           Node + NX                  o
                           Node + N0                 x
                           Node + N1                  o
                           Node + N2                  o
                           Node + N3                  o
                           Node – (negative)          o
                           Unknown                    o


                        d) HER2 + (positive): o HER2- (negative): x Unknown: o


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                       e) Estrogen receptor: Positive (ER+): o Negative (ER-): x Unknown: o
                       f) Progesterone receptor: Positive (PR+): o Negative (PR-): x Unknown: o
           9.     Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever received?
                  Yes o No x Unknown o

           10. Have you ever been treated with other chemotherapy drugs, either alone or in combination
               with or sequentially with Taxotere® or Docetaxel? Yes x No o Unknown o
           11. If yes, check which of the following chemotherapy drugs you took:


                                               Drug                        Yes
                        5-Fluorouracil (Eludex)                             o
                        Actinomycin                                         o
                        Altretamine (Hexalen)                               o
                        Amsacrine                                           o
                        Bleomycin                                           o
                        Busulfan (Busulfex, Myleran)                        o
                        Cabazitaxel: Mitoxantrone                           o
                        Carboplatin (Paraplatin)                            o
                        Carmustine (BiCNU, Gliadel)                         o
                        Cetuximab (Erbitux)                                 o
                        Chlorambucil (Leukeran)                             o
                        Cisplatin (Platinol)                                o
                        Cyclophosphamide (Neosar)                           x
                        Cytarabine (Depocyt)                                o
                        Dacarbazine                                         o
                        Daunorubicin (Cerubidine, DaunoXome)                o
                        Doxorubicin (Adriamycin, Doxil)                     x
                        Epirubicin (Ellence)                                o
                        Erlotinib (Tarceva)                                 o
                        Etoposide (Etopophos, Toposar)                      o
                        Everolimus (Afinitor, Zortress)                     o
                        Faslodex (Fulvestrant)                              o
                        Gemcitabine (Gemzar)                                o
                        Hexamethylmelamine (Hexalen)                        o
                        Hydroxyurea (Hydrea, Droxia)                        o
                        Idarubicin (Idamycin)                               o
                        Ifosfamide (Ifex)                                   o
                        L-asparginase (crisantaspase)                       o
                        Lomustine (Ceenu)                                   o


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                                                   Drug                               Yes
                             Melphalan (Alkeran)                                       o
                             Mercaptopurine (Purinethol, Purixan)                      o
                             Methotrexate (Trexall, Rasuvo)                            o
                             Mitomycin                                                 o
                             Mitoxantrone                                              o
                             Nab-paclitaxel (Abraxane): Mitoxantrone                   o
                             Nitrogen mustard                                          o
                             Paclitaxel (Taxol)                                        o
                             Panitumumab (Vectibix)                                    o
                             Procarbazine (Matulane)                                   o
                             Sorafenib (Nexavar)                                       o
                             Teniposide (Vumon)                                        o
                             Thioguanine (Tabloid)                                     o
                             Thiotepa (Tepadina)                                       o
                             Topotecan (Hycamtin)                                      o
                             Vemurafenib (Zelboraf)                                    o
                             Vinblastine                                               o
                             Vincristine (Mariqibo, Vincasar)                          o
                             Vindesine                                                 o
                             Vinorelbine (Alocrest, Navelbine)                         o
                             Unknown                                                   o


               12. Please provide the following information regarding Taxotere® or Docetaxel:
                            a) Number of cycles: 04
                            b) Frequency: Every week o Every three weeks x
                               Other:
                            c) First treatment date: 08/20/2008
                            d) Last treatment date: 10/22/2008
                            e) Dosage: 129.5-135mg
                                  (1) Combined with another chemotherapy drug: o
                                  (2) Sequential with another chemotherapy drug: x
                                  (3) If so, describe the combination or sequence: Adriamycin + Cytoxan, Followed by
                                  Taxotere
               13. Prescribing Physician(s):


                  Prescribing Physician                                                Address
                                                                 4513 Westbank Expressway
Chandrasekaran, Nagarajan
                                                                 Marrero, LA 70072

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                 14. Treatment Facility:


                     Treatment Facility                                                    Address
                                                                    1101 Medical Center Boulevard
West Jefferson Medical Center
                                                                    Marrero, LA 70072


                 15. Identify EACH state where you resided when you began and while taking Taxotere® or
                     Docetaxel:


                          State                            From Date                                To Date
         LA                                       08/20/2008                           10/22/2008 o Present


                 16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes o No x
                     Unknown o
                 17. If yes, please provide the name and location of the trial site:
                            a) Name of trial site:
                            b) Location of trial site:


VI.   CLAIM INFORMATION



Current Status

                 1. Are you currently taking Taxotere® or Docetaxel? Yes o No x
                 2. Are you currently cancer-free? Yes x No o
                 3. If no, check those that apply to your CURRENT status:


                                           Current Status                                Yes
                     In remission                                                         x
                     Currently receiving chemotherapy                                     o
                     Currently receiving radiation therapy                                o
                     Currently hospitalized for cancer or cancer-related
                                                                                          o
                     complications
                     Currently in home health or hospice care for cancer or
                                                                                          o
                     cancer-related complications
                     Cancer returned after taking Taxotere® or Docetaxel                  o


                 4. When was the last (most recent) date you consulted with an oncologist: 04/??/2017



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Alleged Injury



                    State the injury you allege in this lawsuit and the dates between which you experienced the
               5.
                    alleged injury. Check all that apply:


                       Alleged Injury                            Yes    No          From              To

Persistent total alopecia – No hair growth on your head or
body after six (6) months of discontinuing Taxotere® or          o       x    --/--/----     --/--/---- o Present
Docetaxel treatment
Persistent alopecia of your head – No hair growth on your
head after six (6) months of discontinuing Taxotere® or
                                                                 o       x    --/--/----     --/--/---- o Present
Docetaxel treatment. Hair is present elsewhere on your
body
Permanent/Persistent Hair Loss on Scalp                          x       o    08/??/2008     --/--/---- R Present

Diffuse thinning of hair: partial scalp
            x Top
            x Sides                                                                          --/--/---- R Present
                                                                 x       o    08/??/2008
            x Back
            x Temples
            o Other:

Diffuse thinning of hair: total scalp
            x Top
            x Sides
                                                                 x       o    08/??/2008     --/--/---- R Present
            x Back
            x Temples
            o Other:
Significant thinning of the hair on your head after six (6)
months of discontinuing Taxotere® or Docetaxel treatment                                     --/--/---- R Present
                                                                 x       o    08/??/2008
– There are visible bald spots on your head no matter how
you style your hair
Moderate thinning of the hair on your head after six (6)
months of discontinuing Taxotere® or Docetaxel treatment                                     --/--/2017 R Present
                                                                 x       o    08/??/2008
– There is noticeable hair loss but if you brush or style your
hair, the hair loss is less evident
Small bald area in the hair on your head                         x       o    08/??/2008     --/--/---- R Present

Large bald area in the hair on your head                         x       o    08/??/2008     --/--/---- R Present
Multiple bald spots in the hair on your head                     x       o    08/??/2008     --/--/---- R Present
Change in the texture, thickness or color of your hair after                                 --/--/---- R Present
                                                                 x       o    08/??/2008
Taxotere® or Docetaxel treatment
Other:                                                           o       x    --/--/----     --/--/---- o Present


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                      Alleged Injury                                Yes          No            From             To
Permanent/Persistent Loss of Eyebrows                                x            o      08/??/2008    --/--/---- R Present
Permanent/Persistent Loss of Eyelashes                               x            o      08/??/2008    --/--/---- R Present
Permanent/Persistent Loss of Body Hair                               x            o      08/??/2008    --/--/---- R Present
Permanent/Persistent Loss of Genital Hair                            x            o      08/??/2008    --/--/---- R Present
Permanent/Persistent Loss of Nasal Hair                              o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Ear Hair                                o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Hair in Other Areas                                                       --/--/---- R Present
                                                                     x            o      08/??/2008
Describe: Armpits and Legs

              6.   Have you ever received treatment for the injury you allege in this lawsuit?
                   Yes o No x


             Name of Treating Physician                        Dates of Treatment                     Treatments
                                                              --/--/---- to --/--/----
                                                              o Present


              7.   Were you diagnosed by a healthcare provider for the injury you allege in this lawsuit?
                   Yes o No x


            Name of Diagnosing Physician                       Dates of Treatment                     Treatments
                                                              --/--/---- to --/--/----
                                                              o Present


              8.   Have you discussed with any healthcare provider whether Taxotere® or Docetaxel caused
                   or contributed to your alleged injury?
                   Yes o No x


                   Name of Physician                           Dates of Treatment                     Treatments
                                                              --/--/---- to --/--/----
                                                              o Present


Statement Information


              9.   Were you ever given any written instructions, including any prescriptions, packaging,
                   package inserts, literature, medication guides, or dosing instructions, regarding
                   chemotherapy, Taxotere® or Docetaxel? Yes x No o

              10. If yes, please describe the documents, if you no longer have them. If you have the
                  documents, please produce them:


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                                                                   I Have the             I Do Not Have the
                  Description of Document
                                                                   Documents                 Documents
Chemotherapy Pamphlets                                                  o                             x


                 11. Were you given any oral instructions from a healthcare provider regarding chemotherapy or
                     your use of Taxotere® or Docetaxel? Yes x No o
                 12. If yes, please identify each healthcare provider who provided the oral instructions:


                                             Name of Healthcare Provider
                 Chandrasekaran, Nagarajan


                 13. Have you ever seen any advertisements (e.g., in magazines or television commercials) for
                     Taxotere® or Docetaxel? Yes o No x
                 14. If yes, identify the advertisement or commercial, and approximately when you saw the
                     advertisement or commercial:


                                                                               Date of Advertisement or
                    Type of Advertisement or Commercial
                                                                                     Commercial
                                                                            --/--/----


                 15. Other than through your attorneys, have you had any communication, oral or written, with
                     any of the Defendants or their representatives? Yes o No x
                 16. If yes, please identify:


    Date of                                                                                    Substance of
                        Method of Communication            Name of Representative
 Communication                                                                                Communication
--/--/----


                 17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes o No x
YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR HAIR BEFORE
AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH THE DATE(S) THE
PHOTOGRAPHS WERE TAKEN.


Other Claimed Damages

                 18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or Docetaxel
                     caused or aggravated any psychiatric or psychological condition? Yes x No o
                 19. If yes, did you seek treatment for the psychiatric or psychological condition?
                     Yes x No o


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                        Provider                                      Date                    Condition
Long, William                                            01/1/2009               Depression
Blanton, Elizabeth N                                     12/31/2009              Depression


                 20. Medical Expenses: Do you claim that you incurred medical expenses for the alleged injury
                     that you claim was caused by Taxotere® or Docetaxel? Yes o No x
                 21. If yes, list all of your medical expenses, including amounts billed or paid by insurers and
                     other third-party payors, which are related to any alleged injury you claim was caused by
                     Taxotere® or Docetaxel:


                        Provider                                      Date                    Expense
                                                         --/--/----


                 22. Lost Wages: Do you claim that you lost wages or suffered impairment of earning capacity
                     because of the alleged injury that you claim was caused by Taxotere® or Docetaxel?
                     Yes o No x
                 23. If yes, state the annual gross income you earned for each of the three (3) years before the
                     injury you claim was caused by Taxotere® or Docetaxel.



                                          Year          Annual Gross Income



                 24. State the annual gross income for every year following the injury or condition you claim
                     was caused by Taxotere® or Docetaxel.



                                          Year          Annual Gross Income



                 25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket expenses?
                     Yes x No o
                 26. If yes, please identify and itemize all out-of-pocket expenses you have incurred:


                                          Expense                                     Expense Amount
          Wigs                                                                     $130 Estimate
          Lotions                                                                  $30 Estimate
          Hats                                                                     $40 Estimate


VII. HAIR LOSS INFORMATION

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Background

              1. Did you ever see a healthcare provider for hair loss BEFORE taking Taxotere® or Docetaxel?
                 Yes o No x
              2. Did your hair loss begin during chemotherapy treatment? Yes x No o
              3. If yes, did you FIRST experience hair loss:
                             a) After treatment with another chemotherapy agent: o
                             b) After treatment with Taxotere® or Docetaxel: x
              4. At any time before or during the hair loss were you:


                                     Condition                           Yes      Description
           Pregnant                                                       o
           Seriously ill                                                  x      Lupus
           Hospitalized                                                   o
           Under severe stress                                            x      During Chemo
           Undergoing treatment for any other medical condition           x      Lupus


              5.    When did you FIRST discuss with or see a healthcare provider about your hair loss?
                    --/--/----
              6.    Have you started any special diets at any time before or during the hair loss?
                    Yes x No o Describe: Lupus/Chemo


Hair Loss History


                     Question                          No         Yes         Name of Healthcare Provider
Have you had a biopsy of your scalp to evaluate
                                                        x          o
your hair loss problem?
Have you had blood tests done to evaluate your
                                                        x          o
hair loss problem?
Have your hormones ever been checked to
                                                        x          o
evaluate your hair loss problem?
Have you ever been told by a doctor that you
                                                        x          o
have a thyroid condition?
Have you ever been treated with thyroid
                                                        x          o
hormone?
Have you ever been told by a doctor that you
                                                        o         x      Long, William
have a low iron level?




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            7.     Have you ever been on endocrine or hormonal therapy, either before or after chemotherapy
                   with Taxotere® or Docetaxel? Yes o No x
            8.     If yes, please identify:


                 Treating Physician                   Dates of Treatment               Treatment
                                                     --/--/---- to --/--/----
                                                     o Present


            9.     Do you have any autoimmune diseases? Yes x No o
            10. If yes, check the following which describes you:


                             Autoimmune Disease      Yes
                           Lupus                      x
                           Rheumatoid arthritis       o
                           Celiac disease             o
                           Type 1 diabetes            o
                           Sjogrens disease           o
                           Vitiligo                   o
                           Hashimoto’s                o
                           Other:                     o


            11. Were you taking any medications when your hair loss began? Yes x No o


                                                  Medication
                   Verapamil
                   Nexium
                   Furosemide
                   Paxil
                   Amitriptyline
                   Potassium



Hair Care


            12. How often do you wash/shampoo your hair? Every 14 days
            13. Check any of the following that apply to you currently or that have in the past:



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                   Hair Treatment                             Yes          Period of Time                Frequency
Hair chemically processed or straightened (relaxers,
                                                                       ??/??/1996 to ??/??/2007
keratin, Brazilian blowout, Japanese straightening,            x                                  A few times a year
                                                                       o Present
other)
Hair heat processed or straightened (blow drying/                      ??/??/1998 to ??/??/2005
                                                               x                                  Once a month
flat ironing, curling)                                                 o Present
                                                                       --/--/---- to --/--/----
Hair dyed                                                      o
                                                                       o Present
                                                                       --/--/---- to --/--/----
Hair highlighted                                               o
                                                                       o Present
                                                                       --/--/---- to --/--/----
Braids                                                         o
                                                                       o Present
                                                                       --/--/---- to --/--/----
Weaves                                                         o
                                                                       o Present
                                                                       --/--/---- to --/--/----
Tight hairstyles (ponytails)                                   o
                                                                       o Present
                                                                       --/--/---- to --/--/----
Extensions                                                     o
                                                                       o Present
                                                                       --/--/---- to --/--/----
Other:                                                         o
                                                                       o Present


               14. Have you ever used the following?


                                     Hair Treatment                                Yes
                    WEN Cleansing Conditioners                                      o
                    Unilever Suave Professionals Keratin Infusion                   o
                    L’Oréal Chemical Relaxer                                        o


               15. Has your hair care regimen been different in the past? Yes x No o
                          a) If yes, describe: I have to use special conditioners. I wash my hair much less now that I don't
                          have as much.


Hair Loss Treatment

               16. Did you use any other methods to prevent hair loss during chemotherapy?


                                     Hair Treatment                                Yes
                    Folic Acid supplementation                                      o
                    Minoxidil                                                       o
                    Other:                                                          o


               17. Did you wear a cool cap during chemotherapy treatment? Yes o No x
               18. If yes, which cooling cap did you wear:

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                 19. Have you used any over-the-counter medications, supplements, or cosmeticaides for your
                     hair loss? Yes x No o
                 20. If yes, please state the following:


               Treatment                  When was it tried?              How long did you try it?           Did it help?
Vitamin E                                ??/??/2009                      a few months                  No


                 21. Has anything helped your hair loss? Yes o No x
                 22. If yes, please specify:


            Type of Product                    Dates of Use                   Place of Purchase             Results of Use
                                         --/--/---- to --/--/----
                                         o Present


                 23. As of the date you verify your PFS, how long have you had alopecia or incomplete hair re-
                     growth? since chemotherapy
                 24. Has any hair regrowth occurred? Yes x No o
                 25. Have you ever worn a wig to conceal your hair loss? Yes x No o
                 26. Specify:


         Dates Used                Period of Use                         Place Purchased                    Cost of Item
08/??/2008 to 06/??/2014
                                After Chemo                  Marrero, LA                               $130 Estimate
o Present


VIII. RECORD HOLDER IDENTIFICATION



Healthcare Providers:

                  1. Identify each physician, doctor, or other healthcare provider who has provided treatment to
                     you for any reason in the past eight (8) years and the reason for consulting the healthcare
                     provider or mental healthcare provider.
YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE


                                  Area or                                                                     Reason for
            Name                                             Address                     Dates
                                  Specialty                                                                   Consultation
                                                 2633 Napoleon Avenue, Suite
                                                                             01/1/2015 to --/--/----
Pounds, Jr., Jerry W            Rheumatology     530                                                         Lupus
                                                                             R Present
                                                 New Orleans, LA 70115


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                                     Area or                                                                              Reason for
            Name                                            Address                              Dates
                                     Specialty                                                                            Consultation
                                                   2633 Napoleon Avenue, Suite
                                                                               01/1/2009 to 12/31/2015
Sanders (Deceased), Reginald      Rheumatology     530                                                                 Lupus
                                                                               o Present
                                                   New Orleans, LA 70115
                                                   1111 Medical Center
                                                                                      01/1/2005 to --/--/----
Rodriguez-Fierro, Carlos O        Cardiology       Boulevard, Suite S350                                               Cardiology
                                                                                      R Present
                                                   Marreo, LA 70072
                                                   3909 Lapalco Boulevard,
                                                                                      01/1/2005 to --/--/----
Long, William                     Primary Care     Suite 100                                                           Primary Care
                                                                                      R Present
                                                   Harvey, LA 70058
                                                   515 Westbank Expressway            01/1/2000 to --/--/----
Blanton, Elizabeth N              Ob-Gyn                                                                               Ob-Gyn
                                                   Gretna, LA 70053                   R Present
                                                   1111 Medical Center
                                  Oncology                                            10/17/2007 to --/--/----         Breast Cancer
Kitahama, Akio A                                   Boulevard, Suite 630
                                  Surgeon                                             R Present                        Surgery
                                                   Marrero, LA 70072
                                  Oncology         1120 Robert Road                   10/17/2007 to --/--/----         Breast Cancer
Swanton, Robert
                                  Radiation        Slidell, LA 70458                  R Present                        Radiation
                                                   120 Ochsner Blvd., Ste: 380        10/17/2007 to --/--/----
Chandrasekaren, Nagarajan         Oncology                                                                             Chemotherapy
                                                   Gretna, LA 70056                   o Present


Hospitals, Clinics, and Other Facilities:

                   2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation center, or
                      other healthcare facility where you have received inpatient or outpatient treatment
                      (including emergency room treatment) in the past eight(8)years:

YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY, IMAGING, BIOPSIES,
CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC PROCEDURES OR TREATMENT, ALONG
WITH ANY OTHER HEALTHCARE FACILITIES


                                                                                                                       Reason for
                  Name                                  Address                             Dates
                                                                                                                       Treatment
                                           1101 Medical Center Boulevard         10/17/2007 to --/--/----
West Jefferson Medical Center                                                                                    Breast Cancer
                                           Marrero, LA 70072                     R Present
                                           515 Westbank Expressway               ??/??/2000 to --/--/----
The Women's Medical Center                                                                                       Ob-Gyn
                                           Gretna, LA 70053                      R Present


Laboratories:

                   3. Identify each laboratory at which you had tests run in the past ten (10) years:


         Name                          Address                         Dates                     Test              Reason for Tests
WEST JEFFERSON               1101 Medical Center Blvd       01/1/1999 to --/--/----
                                                                                           blood work            general healthcare
HOLDINGS, LLC                Marrero, LA 70072-3147         R Present




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Pharmacies:

                 4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other supplier
                    (including mail order) where you have had prescriptions filled or from which you have ever
                    received any prescription medication within three (3) years prior to and three (3) years after
                    your first treatment with Taxotere:


             Name                              Address                            Dates               Medications
                                  1891 Barataria Boulevard            01/1/2005 to --/--/----    Verapamil, Nexium, Paxil,
Walgreens
                                  Marrero, LA 70072                   R Present                  Amitriptyline, Potassium
                                  139 Central Avenue                  ??/??/2014 to --/--/----
Gem Drugs                                                                                        Furosemide
                                  Reserve, LA 70084                   R Present


Retailers:

                 5. Identify each pharmacy, drugstore, and/or other retailer (including mail order) where you
                    have purchased over-the-counter medications, or hair products in the past ten (10) years:


             Name                              Address                             Dates               Purchases
                                  1891 Barataria Boulevard             01/1/1999 to --/--/----
Walgreens                                                                                        shampoo and conditioner
                                  Marrero, LA 70072                    R Present


Insurance Carriers:

                 6. Identify each health insurance carrier which provided you with medical coverage and/or
                    pharmacy benefits for the last ten (10) years:


                                                         Name of Insured &              Policy
         Carrier                     Address                                                       Dates of Coverage
                                                               SSN                      Number
                            3838 North Causeway
                                                         Crayton, Sheila                         01/1/2007 to --/--/----
Peoples Health - Medicare   Boulevard, Suite 2200
                                                                                                 R Present
                            Metairie, LA 70002


IX.     DOCUMENT REQUESTS AND AUTHORIZATIONS


        Please state which of the following documents you have in your possession. If you do not have the
        following documents but know they exist in the possession of others, state who has possession of the
        documents: Produce all documents in your possession (including writings on paper or in electronic
        form) and signed authorizations and attach a copy of them to this PFS.

Requests



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                                                                                 If No, who has the
                    Type of Document(s)                            Yes   No
                                                                                    document(s)?
Documents you reviewed to prepare your answers to this
Plaintiff Fact Sheet.
Your attorney may withhold some documents on claims of             o     x    N/A
attorney-client privilege or work product protection and, if so,
provide a privilege log
Medical records or other documents related to the use of
Taxotere® or Docetaxel at any time for the past twelve             x     o
(12)years.
Medical records or other documents related to your treatment
for any disease, condition or symptom referenced above for         o     x    Medical Providers
any time in the past twelve (12) years.
Laboratory reports and results of blood tests performed on you
                                                                   o     o    does not exist
related to your hair loss.
Pathology reports and results of biopsies performed on you
related to your hair loss.
Plaintiffs or their counsel must maintain the slides and/or
                                                                   o     x    N/A
specimens requested in this subpart, or send a preservation
notice, copying Defendants, to the healthcare facility where
these items are maintained.
Documents reflecting your use of any prescription drug or
                                                                   o     x    Pharmacy Providers
medication at any time within the past eight (8) years.
Documents identifying all chemotherapy agents that you have
                                                                   o     x    Medical Providers
taken.
Documents for any workers' compensation, social security or
other disability proceeding at any time within the last five (5)   o     x    N/A
years.
Instructions, product warnings, package inserts, handouts or
other materials that you were provided or obtained in              o     x    N/A
connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                        o     x    N/A
Articles discussing Taxotere®.                                     o     x    N/A
Any packaging, container, box, or label for Taxotere® or
Docetaxel that you were provided or obtained in connection
with your use of Taxotere®.                                        o     x    N/A
Plaintiffs or their counsel must maintain the originals of these
items.
Documents which mention Taxotere® or Docetaxel or any
alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents, documents
provided by your attorney, or documents obtained or created        o     x    N/A
for the purpose of seeking legal advice or assistance on claims
of attorney-client privilege or work product protection and, if
so, provide a privilege log.
Documents obtained directly or indirectly from any of the
                                                                   o     x    N/A
Defendants.

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                                                                                  If No, who has the
                    Type of Document(s)                             Yes   No
                                                                                     document(s)?
Communications or correspondence between you and any
                                                                    o     x    N/A
representative of the Defendants.
Photographs, drawing, slides, videos, recordings, DVDs, or
any other media that show your alleged injury or its effect in      x     o
your life.
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition or
                                                                    o     x    N/A
symptom referenced above at any time for the past twelve (12)
years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace, LinkedIn,
Google Plus, Windows Live, YouTube, Twitter, Instagram,
                                                                    o     x    N/A
Pinterest, blogs, and Internet chat rooms/message boards)
relating to Taxotere® or Docetaxel or any of your claims in
this lawsuit.
If you claim you have suffered a loss of earnings or earning
capacity, your federal tax returns for each of the five (5) years
preceding the injury you allege to be caused by Taxotere® or
                                                                    o     x    N/A
Docetaxel, and every year thereafter or W-2s for each of the
five (5) years preceding the injury you allege to be caused by
Taxotere® or Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any physician,
                                                                    o     x    N/A
hospital, pharmacy or other healthcare providers.
Records of any other expenses allegedly incurred as a result of
                                                                    o     x    Receipts Destroyed
your alleged injury.
If you are suing in a representative capacity, letters
                                                                    o     x    N/A
testamentary or letters of administration.
If you are suing in a representative capacity on behalf of a
deceased person, decedent’s death certificate and/or autopsy        o     x    N/A
report.
Photographs of you that are representative of your hair
                                                                    x     o
composition before treatment with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                                    o     o    does not exist
composition during treatment with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment with           o     x    N/A
Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                                    x     o
composition in present day.
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy records
                                                                    x     o
from three (3) years before and three (3) years after your first
treatment with Taxotere in the forms attached hereto.



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X. DECLARATION

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information provided in
connection with this Plaintiff Profile Form is true and correct to the best of my knowledge information and
belief at the present time.
Signature                                            Date




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